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                               UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF CONNECTICUT
                                      BRIDGEPORT DIVISION
In re:

ALAN ALBERT LOURENCO                                           :    CHAPTER 7
                                                               :
                           Debtor                              :    CASE NO. 18-51399
---------------------------------------------------------------x
DANIEL LOURENCEO                                               :    ADV. PROC. NO. 19-05017 (JAM)
                                                               :
                           Plaintiff                           :
vs.                                                            :    Re: ECF No. 47
                                                               :
ALAN ALBERT LOURENCO, ALBERT                                   :
LOURENCO, A L REAL ESTATE HOLDINGS :
LLC, L&L PARTNERS, LLC, DANBURY                                :
RENT-A TRUCK, INC.                                             :
                                                               :
                           Defendants                          :
---------------------------------------------------------------x

                           ORDER GRANTING AMENDED MOTION TO
                              STAY ADVERSARY PROCEEDING

         The Consensual Amended Motion to Stay Adversary Proceeding to Allow Mediation to

Proceed (the :Motion”) having come before the Court, there being due and adequate notice of the

relief sought therein and there being due and sufficient cause for the relief sought therein and such

relief being on the consent of the appearing parties as they pursue mediation of certain matters, it

is hereby

         ORDERED, that the Motion is GRANTED; and the above captioned adversary proceeding

is hereby stayed pending the conclusion of the mediation process amongst the parties in its entirety;

and it is further

         ORDERED that the parties are directed to report back to the Court within 30 days following

conclusion of the mediation process amongst the parties in its entirety, including any follow up

settlement discussions and memorialization of any settlement agreement between the parties

following the mediation.
            Dated at Bridgeport, Connecticut this 4th day of March, 2020.
